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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

  Jeremiah M., Hannah M. and Hunter M. by
  their next friend Lisa Nicolai; Mary B. and
  Connor B. by their next friend Charles
  Ketcham; David V., George V., Lawrence
  V., Karen V., and Damien V. by their next
  friend Merle A. Maxson; Rachel T.,
  Eleanor T. and Gayle T. by their next friend    Case No. 3:22-cv-00129-JMK
  Rebecca Fahnestock, and Lana H. by her
  next friend Melissa Skarbek, individually
  and on behalf of all other similarly situated
                                                  UNOPPOSED REQUEST FOR
                              Plaintiffs,         ORAL ARGUMENT ON
                                                  DEFENDANTS’ MOTION TO
        v.                                        TAKE JUDICIAL NOTICE OF
                                                  PLEADINGS AND ORDERS
  ADAM       CRUM,       Director,   Alaska       FROM THE NAMED
  Department of Health and Social Services,       PLAINTIFFS’ CINA CASES (ECF
  in his official capacity; KIM GUAY,             No. 21)
  Director, Office of Children’s Services, in
  her    official    capacity;     ALASKA
  DEPARTMENT OF HEALTH AND
  SOCIAL SERVICES; and ALASKA
  OFFICE OF CHILDREN’S SERVICES,

                              Defendants.




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                          REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1(f), Plaintiffs, by and through their undersigned counsel,

request oral argument on Defendants’ Motion to Take Judicial Notice of Pleadings and

Orders from the Named Plaintiffs’ CINA Cases. See ECF No. 21. The parties are also

actively briefing Defendants’ Motion to Dismiss, and Plaintiffs have requested oral

argument on that motion as well. See ECF Nos. 23, 30. Given the overlap between the two

motions, Plaintiffs request that a hearing be scheduled for both motions at the same time.



                                            Respectfully Submitted,

Dated: October 12, 2022                     /s/ Marcia Robinson Lowry
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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2022, I filed a true and correct copy of the
foregoing document with the Clerk of the Court for the United States District Court –
District of Alaska by using the CM/ECF system. Participants in Case No. 3:22-cv-00129-
JMK who are registered CM/ECF users will be served by the CM/ECF system.

/s/ Marcia Robinson Lowry




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